
644 S.E.2d 8 (2007)
Herbert HAYES
v.
Joel MACIAS.
No. 632A06.
Supreme Court of North Carolina.
March 8, 2007.
Herbert Hayes, Pro Se.
C. Michael Day, for Macias.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Plaintiff on the 21st day of December 2006 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex mero motu by order of the Court in conference, this the 8th day of March 2007."
Justice HUDSON recused.
